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83-166        USA v. Thomas Paul Gray, et al


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86-182        USA v. Frederick A. Pou, Jr.


87-200        USA v. Louis Solares, et al


87-465        USA v. Anthony Joseph Varca, et al


92-210        USA v. Manuel Francisco Rebolledo Tenorio, et al


98-175        USA v. Terrance Kasses Washington, et al


99-354        USA v. Gregory Joseph Hernandez, et al


00-316        USA v. Evaristus B. Mackey, Jr. (closed case)


07-143        USA v. William Reed (closed case)


03-346        USA v. Brian Nickles (closed case)


09-46         USA v. Kenwuane Moore, et al (closed case)


09-166        USA v. Tehran Michael Wills, et al (closed case)




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13-104        USA v. Terrill Baker (closed case)


13-170        USA v. Erick Garrison (closed case)


13-208        USA v. Allison Chriswell, et al (closed case)


14-22         USA v. Peter M. Hoffman, et al (closed case)


17-169        USA v. Tony Lam (closed case)


17-207        USA v. Keith A. James (closed case)

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19-25         USA v. Jeffrey Wise, et al


19-38         USA v. Rafael Molina, et al


19-108        USA v. Hakeam Drane, et al


19-214        USA v. Andrew Payton



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20-55         USA v. Jason R. Williams, et al

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20-139        USA v. Nicole E. Burdett


20-56         USA v. Demetrius Lamont Fiorentino, Jr.


20-111        USA v. Alton Cooks


21-3          USA v. Ritchel Morehead


21-14         USA v. Christopher May


21-30         USA v. Betty Arrington


21-43         USA v. Dominic Romano


21-100        USA v. Odai Wireless, LLC


21-110        USA v. Ashley McGowan, et al


21-120        USA v. Brian Tardy


21-142        USA v. Nelson Raymond


21-150        USA v. Calvin Batiste


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11-1200       Hebert v. BP America, Inc. et al


13-1018       Keller v. BP Exploration & Production, Inc. et al


13-1802       DeAgano et al v. BP Exploration & Production, Inc et al


13-3928       Kendrick v. BP Exploration & Production Inc et al


17-2674       Granier v. BP p.l.c. et al


17-3020       Anderson v. BP Exploration & Production, Inc. et al


17-3054       Bowens v. BP Exploration & Production, Inc. et al


17-3087       Broadway v. BP Exploration & Production, Inc. et al


17-3128       Coleman v. BP Exploration & Production, Inc. et al


17-3139       Darrington v. BP Exploration & Production, Inc. et al


17-3225       Turner v. BP Exploration & Production, Inc. et al


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17-3232     Howell v. BP America Production Company et al


17-3265     Harris v. BP Exploration & Production, Inc. et al


17-3267     Harris v. BP Exploration & Production, Inc. et al


17-3291     Huynh v. BP Exploration & Production, Inc. et al


17-3294     Jackson v. BP Exploration & Production, Inc. et al


17-3299     Jackson v. BP Exploration & Production, Inc. et al


17-3300     Jacobs v. BP Exploration & Production, Inc. et al


17-3314     Kenner v. BP Exploration & Production, Inc. et al


17-3320     Lawton v. BP Exploration & Production, Inc. et al


17-3324     Leverette v. BP Exploration & Production, Inc. et al


17-3379     McClendon v. BP Exploration & Production, Inc. et al


17-3396     McMillan v. BP Exploration & Production, Inc. et al


17-3400     Minton v. BP Exploration & Production, Inc. et al


17-3443     Abdelfattah v. BP Exploration & Production, Inc. et al




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17-3527     Crumpton v. BP Exploration & Production, Inc. et al


17-3573     Moore v. BP Exploration & Production, Inc. et al


17-3576     Moore v. BP Exploration & Production, Inc. et al


17-3598     Peschlow v. BP Exploration & Production, Inc. et al


17-3634     Bean v. BP Exploration & Production, Inc. et al


17-3646     Chatman v. BP Exploration & Production, Inc. et al


17-3650     Conley v. BP Exploration & Production, Inc. et al


17-3990     Fleming v. BP Exploration & Production, Inc. et al


17-3996     Giusti v. BP Exploration & Production, Inc. et al


17-4072     McKay v. BP Exploration & Production, Inc. et al


17-4076     O'Neal v. BP Exploration & Production, Inc. et al


17-4077     Packer v. BP Exploration & Production, Inc. et al


17-4142     Brown v. BP Exploration & Production, Inc. et al


17-4224     Wells v. BP Exploration & Production, Inc. et al




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17-4240     Woodland v. BP Exploration & Production, Inc. et al


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17-4254     Spencer v. BP Exploration & Production, Inc. et al


17-4267     Toler v. BP Exploration & Production, Inc. et al


17-4277     Williams v. BP Exploration & Production, Inc. et al


17-4281     Phillips v. BP Exploration & Production, Inc. et al


17-4298     Watts v. BP Exploration & Production, Inc. et al


17-4313     Davis v. BP Exploration & Production, Inc. et al


17-4335     Graves v. BP Exploration & Production, Inc. et al


17-4336     Gray v. BP Exploration & Production, Inc. et al


17-4350     Haynes v. BP Exploration & Production, Inc. et al


17-4357     Hinton v. BP Exploration & Production, Inc. et al


17-4365     Isom v. BP Exploration & Production, Inc. et al


17-4383     Jones v. BP Exploration & Production, Inc. et al


17-4391     Kirkland v. BP Exploration & Production, Inc. et al




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17-4424        Martin vs. BP Exploration & Production, Inc., et al


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17-4536        Robinson v. BP Exploration & Production, Inc. et al


17-4554        Scott et al v. BP Exploration & Production, Inc. et al


17-4586        Smith v. BP Exploration & Production, Inc. et al


17-4597        Willis v. BP Exploration & Production, Inc. et al


17-4611        Thompson v. BP Exploration & Production, Inc. et al


17-4645        Walker v. BP Exploration & Production, Inc. et al


17-7668        Taylor et al v. Denka Performance Elastomer LLC et al

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18-5739       Gerard v. Denka Performance Elastomer LLC et al (closed case)


17-9703        Richard v. St Tammany Parish Sheriff Department


18-2851        Turner et al v. Cook et al


18-4026        In Re: Carriere (closed case)

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18-10089      Taylor et al v. Fulton et al


18-5217        Plaquemines Parish v. Riverwood Production Company, Inc., et al
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18-11661    Hughes v. Vannoy et al (closed case)


19-9310     White v. Dynamic Industries, Inc.


19-11106    Thames v. Marquette Transportation Company Offshore, LLC


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19-11686    Jenkins v. BP Exploration & Production, Inc. et al


19-11954    Mullen v. Daigle Towing Service, LLC


19-12233    Guidry et al v. Dow Chemical Company et al


19-12633    Orleans Shoring, LLC v. E. Cornell Malone Corp. et al


19-13298    Mitchell et al v. Parish of Jefferson et al


19-13381    Bridges et al v. Guy et al


19-13929    Ross v. Ports America Gulfport, Inc. et al


19-13949    Johnson, et al v. Gusman, et al


19-13950    Riley v. Cantrell, et al




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20-293        In Re: In the Matter of Callais & Sons, LLC


20-414        Caytrans Project Services Americas, Ltd v. BBC Chartering &
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20-757        United States of America v. Favalora Constructors, Inc.


20-1173       Minckler v. Waterman Steamship Corporation et al


20-1671       Simmons v. United States of America


20-2259       Turner v. Grand Isle Shipyard, LLC et al


20-2313       Cayce v. BP Exploration & Production, Inc. et al


20-2323       Acosta et al v. Denka Performance Elastomer LLC et al


20-2440       De Souza v. LVNV Funding LLC


20-2503       Wyatt v. Union Pacific Railroad Company


20-2546       Lewis v Marriott Corporation et al


20-2641       Singleton v. Honeycutt et al



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20-3012       Turn Services, L.L.C. v. Gulf South Marine Transportation, Inc.


20-3147       Barrosse v. National Railroad Passenger Corporation, et al


20-3192       Kingsbery v. David Paddison, Attorney-at-Law LLC et al


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21-109        Galan v. Deepwater Horizon Medical Benefits Settlement Claims
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21-184        Young v. Richard et al


21-245        Morris v. Progressive Casualty Insurance Company


21-254        Doucet v. Vannoy et al


21-298        Starks v. PC Baywood, LLC et al



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21-444        Utopian Wireless Corporation v. Assumption High School et al


21-485        Wright v. Louisiana State et al


21-493        Townley v. Forest River, Inc. et al


21-609        Hatty v. Children's International, L.L.C.


21-646        Mohammed v. Williams et al


21-664        Turner v. Board of Supervisors of the University of Louisiana
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21-840        Cooley v. Social Security Administration


21-993        Strickney v. DMC Towing, LLC et al


21-999        Verret v. Low Land Construction Co., Inc.


21-1028       Arrowood Indemnity Company v. St. Joseph's Roman Catholic
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21-1205       Lasage v. Meyers


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21-1266       Williams v. Enterprise Offshore Drilling, LLC


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21-1349       In Re: In the Matter of Cenac Towing Co., LLC

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21-1372       In Re: In the Matter of the Complaint of Kirby Inland Marine, LP

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21-1406       In Re: In the Matter of Florida Marine, LLC


21-1419       Lawson v. BP Exploration & Production, Inc. et al


21-1422       Guillotte v. Knowlin et al


21-1470       Schmill v. Metropolitan Life Insurance Company


21-1473       Raines v. Seabulk Towing Services, Inc.


21-1476       Gray v. Meyers


21-1532       Perrilloux v. Kubota Corporation et al


21-1590       Manuel v. Patterson et al


21-1597       North v. Lowe's Home Center, LLC


21-1635       Chaisson v. Hilcorp Energy Company




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21-1672     Alexander v. Daigle Towing Service, L.L.C. et al


21-1723     Johnson v. Winn-Dixie Montgomery, LLC et al


21-1726     Allstate Indemnity Company v. Whirlpool Corporation et al


21-1742     Waveland Services, Inc. et al v. Caswell et al


21-1778     CSX Transportation, Inc. v. Devall Towing & Boat Service, Inc. et al


21-1824     Dillon v. Lafourche Parish et al


21-1884     Fank v. Walmart Inc., et al


21-1928     Russell v. Walmart Inc.


21-1961     Cagle v. Wal-Mart Louisiana, L.L.C. et al


21-1970     Morales v. Big Lots Stores, Inc.


21-2015     Young v. Louisiana State et al


21-2020     Joe Hand Promotions, Inc. v. Ponchatoula Pub, Inc. et al


21-2055     Hyde et al v. Boston Scientific Corporation




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21-2072     Buckley v. United Parcel Service of America et al


21-2077     Kahn et al v. Schneider et al


21-2173     Dixon v. Social Security Administration


21-2181     Stevenson v. Avis Car Rental


21-2242     G.K. v. D.M.


21-2245     Borne v. Forest River, Inc.


21-2246     Beard v. Ammari Holdings, LLC et al


21-2253     Price v. Galliano Marine Service, L.L.C.


21-2265     Sheriff v. Allstate Insurance Company


21-2269     Vanguard Marine Inc. v. Bunge North America, Inc.


21-2301     Giovingo v. Gordon Biersch Brewery Restaurant et al


21-2310     Harrison v. Vici Properties, Inc. et al


21-2333     Hospitality Holding of LA, LLC v. Underwriters at Lloyd's London


21-2340     Walker v. Lancer Insurance Company et al




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21-2362       Ratley v. Beck et al


21-2369       Myers v. Lyft, Inc. et al


21-2400       Tibbetts v. 3M Company et al


21-2407       Woodson v. Waffle House, Inc.


22-26         Kent v. Southern Towing Company, LLC


22-67         Garcia v. Dynamic Industries, Inc. et al


22-84         Price v. Eagle, Inc. et al


22-111        Filsinger v. Voodoo Fishing Charters, LLC


22-121        Lookadoo v. Winn-Dixie Stores, Inc. et al


22-145        Hess Corporation v. Marathon Oil Corporation


22-161        Voelkel et al v. Progressive Hawaii Insurance Corp et al


22-165        DeJean v. Jefferson Parish Sheriff Office




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